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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


                                     )
PETER STRZOK,                        )
                                     )
                         Plaintiff,  )
                                     )
         v.                          )
                                                                Civil Action No. 19-cv-2367 (ABJ)
                                     )
ATTORNEY GENERAL WILLIAM F. BARR, in )
his official capacity, et al.,       )
                                     )
                         Defendants. )
                                     )


 LISA PAGE’S CONSENT MOTION TO INTERVENE FOR THE LIMITED PURPOSE
       OF RESPONDING TO DEFENDANTS’ MOTION TO CONSOLIDATE

       Pursuant to Federal Rule of Civil Procedure 24 and Local Rule 7(j), Lisa Page requests that

this Court permit her to intervene in this action for the limited purpose of responding to the motion

to consolidate filed by Defendants Attorney General William Barr (in his official capacity), FBI

Director Christopher Wray (in his official capacity), the Department of Justice (“DOJ”), and the

Federal Bureau of Investigation (“FBI”) (collectively, “Defendants”).             Defendants seek

consolidation of this case “for all purposes” with Page v. U.S. Department of Justice, No. 19-cv-

3675 (TSC), a pending action in which Ms. Page is the plaintiff. Mot. to Consolidate, ECF No.

42, at 1, 6. In the absence of intervention, there is no mechanism for Ms. Page to be heard on this

important matter affecting her interests and the disposition of her claims. Counsel for both the

government and Mr. Strzok have consented to the requested intervention.

                                        BACKGROUND

       On August 6, 2019, Plaintiff Peter Strzok filed this action primarily seeking equitable and

injunctive relief for constitutional violations related to the termination of his employment with the
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FBI. See Compl. ¶ 5 (alleging that “[t]he FBI fired Special Agent Strzok because of his protected

political speech in violation of his rights under the First Amendment” and “also deprived Strzok

of his property interest in his employment without due process, in violation of his rights under the

Fifth Amendment”). Mr. Strzok also asserted a claim under the Privacy Act. The case was

assigned to this Court.

       On December 10, 2019, Ms. Page filed a separate lawsuit against Defendants DOJ and FBI,

alleging a single Privacy Act count. See Page v. U.S. Department of Justice, No. 19-cv-3675

(TSC). At the time of filing, Ms. Page identified her case as “related” within the meaning of Local

Rule 40.5(a)(3) to both this action and an earlier-filed case, Citizens for Responsibility and Ethics

v. U.S. Department of Justice, No. 18-cv-0007 (TSC) (the “CREW FOIA” case), which was

assigned to Judge Chutkan. See Page, Notice of Related Case, ECF No. 2 (D.D.C. filed Dec. 10,

2019) (noting that the CREW FOIA case “involves common issues of fact” with the Page case);

id., Notice of Related Case, ECF No. 3 (D.D.C. filed Dec. 10, 2019) (noting that the Strzok case

“involves common issues of fact” and “grows out of the same event or transaction” as the Page

case). The Page case was assigned to Judge Chutkan.

       On March 13, 2020, Defendants filed a motion to consolidate this action with the Page

case “for all purposes.” Mot. to Consolidate at 1, 6. Defendants also submitted a notice of this

filing in the Page case.1




1
 Ms. Page is likewise filing a notice in the Page case attaching copies of this motion to intervene
and Ms. Page’s proposed response to Defendants’ motion to consolidate.
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                                           ARGUMENT

  I.   Ms. Page Is Entitled to Intervene As of Right

       Ms. Page is entitled to intervene as of right under Rule 24(a)(2). Under that rule, a

proposed intervenor must demonstrate: “(1) that its motion is timely; (2) that it has a cognizable

interest in the property or transaction at issue; (3) that the interest will be impaired or impeded if

intervention is denied; and (4) that the applicant’s interest is not adequately represented by an

existing party.” Eagle Pharm., Inc. v. Price, 322 F.R.D. 48, 49 (D.D.C. 2017) (citing Fund for

Animals, Inc., v. Norton, 322 F.3d 728, 731 (D.C. Cir. 2003)).

       This motion is timely. Ms. Page has moved to intervene for the limited purpose of

responding to Defendants’ motion to consolidate within the 14-day period in which a party may

respond under the Local Rules. See L.R. 7(b). Defendants consent to intervention, so no further

briefing on intervention is required. Thus, intervention will not delay briefing or this Court’s

decision on Defendants’ motion to consolidate.

       Because Defendants seek to consolidate the Page and Strzok cases “for all purposes,” see

Mot. to Consolidate at 1, 6, Ms. Page has a cognizable interest in the outcome of Defendants’

motion. As explained in the attached Response to Defendants’ Motion to Consolidate, Ms. Page

and Mr. Strzok are not identically situated, and differences in the posture of the cases and the

underlying claims counsel against consolidation. For the same reasons, Ms. Page’s interest in the

outcome of the consolidation motion is not adequately represented by an existing party. See Eagle

Pharm., 322 F.R.D. at 50 (explaining that a proposed intervenor need only “show[ ] that

representation of [its] interest ‘may be’ inadequate; and the burden of making that showing should

be treated as minimal” (quoting Trbovich v. United Mine Workers of Am., 404 U.S. 528, 538 n.10

(1972))). For example, the attached response expresses Ms. Page’s position differently than the

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Response to Defendants’ Motion to Consolidate filed today on behalf of Mr. Strzok. See ECF No.

43.

       Ms. Page’s interests will be impaired if intervention is denied because she has no

mechanism aside from intervention to be heard on this important matter affecting her interests. As

directed by Local Rule 40.5(d), Defendants filed the motion to consolidate in this case only, and

it must be “heard and determined by the judge to whom the earlier-numbered case is assigned.”

Courts routinely allow litigants to intervene in other cases for the purpose of responding to a

motion to consolidate. See, e.g., Rich Moe Enters. v. Selective Ins. Co. of Am., No. 19-cv-00371,

Minute Order (D.D.C. Nov. 15, 2019) (granting motion to intervene for the limited purpose of

opposing motion to consolidate, where the motion raised arguments under both Rule 24(a) and

Rule 24(b)); Ginebra v. Gen. Motors LLC, No. 18-cv-25209, Order Granting Motion for Limited

Intervention, ECF No. 20 (S.D. Fla. Feb. 27, 2019) (same); Jade Trading, LLC v. United States,

63 Fed. Cl. 143, 143-44 (2004) (“Because the Defendant has only filed its motion to consolidate

in the instant action and not in the K-2 cases, applicants would be unable to lodge their opposition

to consolidation absent intervention here. In addition, the interest of the K-2 plaintiffs are not

adequately represented by the parties here since the cases involve different taxpayers with different

counsel and different transactions occurring in different taxable years.”).

 II.   Alternatively, This Court Should Grant Ms. Page Permission to Intervene

       If this Court concludes that Ms. Page is not entitled to intervention as of right, it should

exercise its discretion to allow permissive intervention. Rule 24(b) provides that, “[o]n timely

motion, the court may permit anyone to intervene who . . . has a claim or defense that shares with

the main action a common question of law or fact.” Fed. R. Civ. P. 24(b)(1)(B); see E.E.O.C. v.

Nat’l Children’s Ctr., Inc., 146 F.3d 1042, 1045-46 (D.C. Cir. 1998) (describing factors). Here,

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the common question is whether consolidation of the Strzok and Page cases, which are currently

pending as separate actions assigned to different judges, is proper. Because Ms. Page seeks to

intervene in this action for the limited purpose of responding to Defendants’ motion to consolidate,

the Court’s decision on this question is determinative of her interests. Ms. Page does not seek to

participate in the Strzok matter beyond this limited issue.

                                         CONCLUSION

       This Court should grant Ms. Page’s motion to intervene for the limited purpose of

responding to Defendants’ motion to consolidate.


Dated: March 27, 2020                                 Respectfully submitted,

                                                      /s/ Amy Jeffress
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